                      Case 1:24-cv-00639-TJK Document 1-1 Filed 03/06/24 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

  ESTHER VAN DER WERF, TOBY STOVER, and                                )
           ELIZABETH DASBURG                                           )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No.
                                                                       )
 NATIONAL PARK SERVICE, U. S. DEPARTMENT                               )
 OF THE INTERIOR, and CHARLES F. SAMS III, in                          )
 his official capacity as Director of the National Park                )
                         Service,                                      )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) National Park Service
                                           1849 C Street, NW
                                           Washington, DC 20240




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Ray L. Flores II, Attorney at Law
                                           11622 El Camino Real Suite 100
                                           San Diego, CA 92130



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
